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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :   Chapter 11
                                                               :
PINNACLE AIRLINES CORP., et al.,                               :   Case No. 12-11343 (REG)
                                                               :
                                    Debtors.                   :   (Jointly Administered)
                                                               :
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                  DECLARATION OF DANIEL M. KASPER
         IN SUPPORT OF MOTION TO REJECT COLLECTIVE BARGAINING
 AGREEMENTS WITH THE AIR LINE PILOTS ASSOCIATION, INTERNATIONAL,
  AND THE ASSOCIATION OF FLIGHT ATTENDANTS-CWA, PURSUANT TO 11
                            U.S.C. § 1113
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I, DANIEL M. KASPER, subject to the penalties provided by law for perjury, do hereby
declare the following to be true and correct:

I.    QUALIFICATIONS & ASSIGNMENT

1.    I am a Senior Consultant for Compass Lexecon. I have over 30 years of consulting
      experience at Compass Lexecon, LECG, Coopers & Lybrand, L.L.P., and
      Harbridge House, Inc.      My work has dealt extensively with issues involving
      economics, finance, competition and competition policy in the airline and
      aerospace industries. I have also served for a total of ten years on the faculties of
      the Harvard Business School and the University of Southern California School of
      Business Administration.

2.    Between 1979 and 1983, I served at the United States Civil Aeronautics Board
      (“CAB”), first advising the Vice-Chair of the Board on all matters pending before
      the agency and then as the Director of International Aviation.         In the latter
      capacity, I was the Board’s primary advisor and chief line officer for all matters
      involving international aviation.

3.    In 1993, I was one of 15 members of the National Commission to Ensure a Strong
      and Competitive Airline Industry, a body created by Congress and appointed by the
      President and the Congressional leadership to evaluate and make recommendations
      on how to improve the performance of the U.S. airline and aerospace industries. In
      addition, I have served as a consultant to the U.S. Departments of Transportation,
      State and Defense on various aviation industry matters, and have also testified as
      an expert on airline and aviation industry matters before courts and federal
      administrative agencies, as well as legislative bodies and antitrust authorities both
      in the United States and abroad. I earned my M.B.A. and J.D. degrees from the
      University of Chicago. My curriculum vitae is attached to this declaration as
      Appendix A.




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4.       I have been retained by Pinnacle Airlines Corporation (“Pinnacle” or “the
         Company”) and asked to evaluate—based on my knowledge, experience and
         understanding of the airline industry, airline economics and competition—the
         current state of the U.S. airline industry generally, and the U.S. regional airline
         industry in particular. I have also been asked to evaluate Pinnacle’s current and
         prospective competitive position in the regional airline industry. I submit this
         declaration in support of Pinnacle’s Motion to Reject Collective Bargaining
         Agreements With the Air Line Pilots Association, International, and the
         Association of Flight Attendants-CWA, Pursuant to 11 U.S.C. § 1113.

5.       This declaration contains my opinions as well as the bases for those opinions. In
         preparing this analysis, I have been assisted by economists on the staff of Compass
         Lexecon. The opinions set forth in this declaration are based upon my review and
         analysis of: (i) relevant articles, academic publications and publicly available
         information and data sources routinely relied upon by economists and other airline
         industry analysts including the Official Airline Guide (“OAG”) schedule database,
         the U.S. Department of Transportation’s (“DOT”) Survey of Origin and
         Destination passengers (“DB1B”), Form 411 and flight segment (“T-100”)
         databases, airline annual reports and other filings made with the U.S. Securities
         and Exchange Commission (“SEC”), press releases, as well as airline and financial
         trade press sources; (ii) conversations with and information provided by Company
         officials; (iii) declarations, pleadings and other documents that have been filed as
         part of Pinnacle’s restructuring to date; and (iv) my own knowledge and more than

     1
       Throughout this Declaration I rely on a number of sources for costs including the U.S. DOT Form 41
     Database. The Form 41 database compiles the financial and traffic data required by federal regulations
     to be submitted to the U.S. government, following the guidelines in the U.S. CFR Part 241, “Uniform
     System of Accounts and Reports for Large Certificated Air Carriers.” While I also used data from the
     carriers’ SEC filings where available, the Form 41 data typically contains far greater detail than is
     available in SEC filings, is subject to a uniform set of filing rules across carriers, and is subject to
     regulatory rules and review by the U.S. DOT. Form 41 data are routinely used in regulatory and
     judicial venues in the U.S., including the Chapter 11 restructurings of American, United, Delta,
     Northwest and US Airways, as well as regional carriers American Eagle, Comair and Mesaba.



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          30 years of experience from working with, researching and/or regulating the airline
          and aerospace industries.2 My investigation and consideration of the issues in this
          matter is ongoing. Accordingly, my opinions are subject to revision based on the
          work I may complete in the future and further documents, data, testimony, and
          other materials I may review. If called as a witness, I could and would testify
          competently to the opinions set forth in this declaration. My professional fees for
          this matter are $725 per hour.

II.        SUMMARY OF OPINIONS

6.        Based on my analysis of the issues to date, I have formed the following opinions.

      (i) Pinnacle’s Large Network Carrier Customers Face Relentless Pressure to
          Control Their Costs

7.        Pinnacle’s customers, the large network carriers that have included Delta,
          Northwest, United, Continental and US Airways, face relentless pressure to control
          their costs. The need for the large network carriers to control their costs stems
          from several factors, the most important of which are: (i) the rapid growth and
          geographic expansion of low cost carriers (“LCCs”)3; (ii) increased price



2
    A list of documents and information sources considered is included as Appendix B.
3
  Throughout this Declaration, I use the term “large network carriers” to refer to American, Delta (recently
merged with Northwest), United (recently merged with Continental) and US Airways. These carriers are
the surviving set of large carriers, most of which were established long before deregulation, that operate on
a “hub and spoke” traffic model, service a wide variety of both domestic and international destinations
using multiple aircraft types, and have workforces relatively more senior than the newer entrants. I use the
term “LCC” to refer to the category of generally lower-cost air carriers that have emerged since the Airline
Deregulation Act of 1978 and transformed the industry from an environment of economic regulation to one
of intense price competition. In recent years this phenomenon has not only taken hold but (in the era of
price transparency brought on by the proliferation of Internet fare advertising and booking) has flourished,
and is typified by the success of carriers such as Southwest, JetBlue, Spirit, and Allegiant. Most (but not
all) of the LCCs’ operating models make use of point-to-point services, and utilize a simplified fleet of one
or two types of narrowbody aircraft, lower average fares, more flexible work rules, quick turn-around times
and (because of their relatively recent vintage) an employee population of lesser seniority than the large
network carriers. Although the largest LCC, Southwest Airlines, began offering interstate domestic


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        transparency resulting from the Internet; (iii) high fuel prices that have made many
        routes unprofitable; and (iv) changes in security screening following September
        11th, 2001, that have depressed the demand for short-haul travel by air.

     a. Low Cost Carriers Have Put Downward Pressure on Large Network
         Carrier Prices

8.      Perhaps the single largest factor impacting the large network carriers’ need to
        control their costs—including their costs for regional carrier lift (i.e., flying
        services)4—has been the dramatic growth and widespread passenger acceptance of
        LCCs. Because of their substantially lower cost structures, LCCs are able to
        operate profitably at average fares far below those of the large network carriers.
        Consequently, the expansion and widespread passenger acceptance of LCCs has
        placed dramatic downward pressure on the fares charged by the large network
        carriers.5 As a result, LCCs have increased their share of domestic origin and


services shortly after the airline industry was deregulated in 1978, many of the other LCCs such as JetBlue,
Spirit, Virgin America and Allegiant only began offering scheduled services in the 1990s or later.
4
  As described in detail in Section III of this report, the large network carriers rely on regional carriers—
i.e., those carriers that operate relatively smaller turboprop and regional jet aircraft (typically with seating
capacities ranging from 19 to 90 seats)—to provide lift on routes (or at times of the day) where passenger
demand is insufficient to economically deploy a larger, mainline aircraft. Mainline aircraft are the large jet
aircraft, typically with 90 or more seats principally manufactured by Boeing (e.g., the B-737, B-757, B-
767, B-777 etc.), Airbus (e.g., the A-319, A-320, A-330, etc.) and formerly McDonald Douglas (e.g., the
MD-80, MD-88, etc.) that are operated by the large network carriers and LCCs. Regional aircraft are
relatively smaller (i.e., less than 90 seat) turbo-prop or jet aircraft principally manufactured by Bombardier
(e.g., the CRJ-200, CRJ-700, CRJ-900, CRJ-1000, Q-400 etc.) and Embraer (e.g., the ERJ-135, ERJ-145,
E-170, E-175 etc.). Other smaller manufacturers of regional aircraft currently in use in the U.S. include
ATR and Saab. Mitsubishi Aircraft Corporation also expects to launch a new series of 70-90 seat RJs in
mid-2015 and has received orders from SkyWest and Trans States. See “Mitsubishi Regional Jet Schedule
Update,” Mitsubishi Aircraft News No. 21, April 25, 2012, “Mitsubishi Aircraft and SkyWest, Inc.
Announce 100 Aircraft Agreement in Principle,” Mitsubishi Aircraft Corporation press release, July 11,
2012 and “Trans States Holdings Signs LOI with Mitsubishi Aircraft for Purchase of 100 MRJ Aircraft,”
Mitsubishi Aircraft News No. 10, October 2, 2009.
5
  While LCC service for many years was largely synonymous with Southwest, today there are number of
other well-capitalized LCCs such as JetBlue, Allegiant, Spirit and Virgin America that have gained
widespread passenger acceptance by (among other things) establishing reputations as safe and reliable
carriers, taking deliveries of large numbers of new and modern jet aircraft and (in the case of JetBlue and
Virgin America) offering a novel array of in-flight amenities. For example, the Airline Quality Rating
2012 conducted by Wichita State University and the Purdue University ranked many LCCs above the large


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       destinations (“O&D”)6 passengers dramatically, largely at the expense of the large
       network carriers.

     EXHIBIT 1: LARGE NETWORK CARRIERS’ DECLINING SHARE OF DOMESTIC O&D
                            PASSENGERS, 1998-2011
                                       80%

                                             70.63%
                                       70%
                                                                                      62.93%
        Domestic O&D Passenger Share




                                       60%
                                                                                                                                                                                   56.54%

                                       50%


                                       40%
                                                                                                                                                                                   37.79%

                                       30%                                            26.75%

                                             19.46%
                                       20%

                                             9.90%
                                       10%
                                                                                                                                                                                   5.67%
                                       0%
                                             1998     1999   2000   2001     2002      2003        2004         2005       2006    2007       2008       2009      2010       2011

                                                                                Large Network             LCC          Other
                   Source U S DOT DB1B
                   Note Share of domestic O&D passengers Large Network carriers include American, TWA, Continental, Delta, Northwest, United, and US Airways (with America West
                   after 2005) LCCs include ATA, Access Air, AirTran, Allegiant, Eastwind, Frontier (including Midwest from 2009), JetBlue, Independence Air, Kiwi, Midway, National, Pro
                   Air, Reno, SkyBus, Southwest, Spirit, Sun Country, Vanguard, Virgin America, and Western Pacific Other includes Alaska, Hawaii, Aloha, Midwest, and other smaller
                   carriers




9.     Moreover, the impact of LCCs on large network carrier pricing is far greater than
       is suggested by the LCCs’ O&D market share in Exhibit 1. This is due to the fact
       that the simple availability of LCC service on a city-pair exerts downward pricing
       pressure on the fares that the large network carriers can charge.7                                                                                                   And, as


network carriers in 2011: AirTran (#1), Hawaiian (#2), JetBlue (#3), Frontier (#4), Alaska (#5), Delta (#6),
Southwest (#7), US Airways (#8), SkyWest (#9), American (#10), Continental (#11), United (#12). See
http://downloads.airlinequalityrating.com/reports/2012aqr.pdf. Virgin America, Spirit, and Allegiant were
not included in the 2012 study. As noted below in Exhibit 11, SkyWest is the largest regional carrier and
operates flights on behalf of United, Delta, Alaska and US Airways.
6
  O&D (“origin and destination”) passengers are counted based on the starting and ending point of their
journey, regardless of whether or not they make a connection. For example, a passenger traveling from
New York City to Los Angeles making a connection in Atlanta is counted as a single O&D passenger.
7
  See, for example, “Fare Restructuring in Cincinnati – Second Quarter 2005,” Office of Aviation and
International Affairs, Aviation Analysis, Domestic Aviation Competition Issue Brief Number 28, noting
that “When presented with a viable, less expensive alternative, comparatively few consumers are willing to
pay the high fares that they are forced to pay absent the availability of an alternative. The legacy carriers


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        large orders booked for new aircraft to support continued domestic expansion,9 and
        over the past several years LCCs have also begun to rapidly enter international
        markets. For example, JetBlue has increased the number of routes to/from the
        Caribbean/Latin America from 11 to 38 between 2007 and 201110 and overall, the
        number of routes between the United States and the Caribbean/Latin America
        served by LCCs grew from only 18 in 2003 to 129 today.11

      b. Price Transparency Resulting from Internet Search and Booking
          Engines Has Put Further Downward Pressure on Airfares

11.     In addition to intense competition from LCCs, other factors such as Internet-based
        airline search and booking tools have also put downward pressure on airfares by
        increasing price transparency for both business and leisure passengers.12 The rapid
        spread of Internet-based airfare search engines has greatly reduced (indeed, almost
        eliminated) the costs of searching for the lowest possible fares and thus greatly
        increased consumers’ ability to find and purchase the lowest available fares.


9
  For example, Southwest Airlines, the world’s largest LCC, has firm orders for 197 new aircraft for
delivery by 2017. Likewise, Virgin America recently placed firm orders for 60 new aircraft to be delivered
starting in 2013 that will triple the size of its current fleet. Moreover, Spirit Airlines recently announced an
order for 75 additional Airbus A320 aircraft to be delivered between 2016 and 2021, bringing Spirit’s total
new aircraft orders to 103. Similarly, JetBlue has 93 new aircraft on order and scheduled for delivery
between 2012 and 2018. See Southwest SEC 10-Q 2012 Quarter 1; “Virgin America Places Airbus’s
10,000th Order: Signs Firm Order For 60 New Aircraft, Including First Order For Eco-Efficient A320neo:
Airline Triples Fleet Size with 60 Planes and Celebrates with a ‘Sweet 60’ Fare Sale,” Virgin America
Press Release, January 17, 2011; “Spirit Airlines Signs Memo of Understanding for 75 Airbus Aircraft,”
Spirit Airlines Press Release, November 15, 2011;Spirit Airlines SEC 10-Q 2012 Quarter 1; and JetBlue
SEC 10-Q 2012 Quarter 1.
10
   Source: OAG. For the purposes of this declaration, I say that a carrier “serves” an international route if
in any month of the given year the carrier had at least eight round trip departures on that route.
11
   Source: OAG. Moreover, Southwest, the largest U.S. LCC, has announced that it will commence
international services from Houston starting in 2015. See “Domestic giant Southwest sticks nose into
international air”, USA Today, May 23, 2012.
12
   For example, approximately 54% of travel (the largest component of which is airline tickets) was
purchased online in 2010, up from only 20% in 2003. See “Online Growth Steady for Both Suppliers and
Online          Travel         Agencies,”          PhoCusWright,            July      7,         2004,
http://www.phocuswright.com/research updates/online-growth-steady-for-both-suppliers-and-online-
travel-agencies and Orbitz Worldwide Investor Presentation, August 9, 2011.


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12.                         The combined effect of LCC growth and the ability of passengers to easily
                             compare fares across all carriers and thereby find the lowest available price has
                             been a long-term secular decline in airfares. As demonstrated by Exhibit 3, for
                             example, from 1979 to 2011 the average price per mile (known in the industry as
                             “yield”) for air service has decreased by over 50% in “real” (i.e., inflation
                             adjusted) terms.13

                                                                        EXHIBIT 3: REAL DOMESTIC PRICE (YIELD), 1979-2011
                                                         35
        Real Domestic Yield (Cents per Passenger Mile)




                                                         30
                                                                29.62

                                                         25



                                                         20


                                                                                                                                                                              14.61
                                                         15



                                                         10



                                                          5



                                                          0
                                                              1979   1981   1983   1985   1987   1989   1991   1993   1995   1997   1999   2001   2003   2005   2007   2009   2011

      Sources Airlines For America; U S BLS
      Notes 2011 Dollars Fares exclude excise taxes and passenger facility charges




      c. High Fuel Prices Have Forced Large Network Carriers to Reduce
         Capacity

13.                         In addition to expanded competition from LCCs, the sharp rise in the price of jet
                             fuel has further undercut the ability of large network carriers to cover their costs in
                             a growing number of markets. As a result, network carriers have been forced to


13
  Throughout this Declaration I use the term “real” to describe historical prices that have been converted to
current price levels using the consumer price index (“CPI”) from the U.S. Bureau of Labor Statistics.


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       eliminate services that can no longer be provided economically at prevailing fuel
       prices.    The economic force driving the industry-wide capacity reductions as
       responses to the high fuel prices over the past several years has been the strong
       negative response of demand for air services to price increases (i.e., demand for air
       services is “price elastic”).14 Because carriers cannot fully absorb the burden of
       higher fuel prices, they must attempt to pass along part of the higher price of jet
       fuel to passengers in the form of higher fares. However, when carriers raise prices
       to offset the higher cost of jet fuel, passenger demand wanes (in turn reducing
       revenues) forcing large network carriers to reduce capacity to match the new level
       of demand. As demonstrated by Exhibit 4, since 2000 the large network carriers
       have reduced their domestic capacity (as measured by available seat miles) by
       more than 10%.15




14
  See “Air Travel Demand Elasticities: Concepts, Issues and Measurement,” by David Gillen, William
Morrison and Christopher Stewart, in Darin Lee, ed., Advances in Airline Economics, Volume 2, pp. 365-
410. Amsterdam: Elsevier. 2007.
15
  An available seat mile (“ASM”) is a standard industry measure of capacity that represents one seat flown
one mile. ASMs are calculated by multiplying the number of seats on a flight by the distance flown and are
a standard measure of airline capacity or size. Thus, a 50-seat aircraft flown 500 miles generates 25,000
ASMs.


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        network carriers (American, United, Delta and US Airways) to restructure in
        bankruptcy under Chapter 11 and seek to reduce all of their controllable costs,
        including the costs for regional carrier lift.


     (ii) Regional Airlines Now Face Similar Challenges

16.     Although the changes described above exacted a dramatic toll on the large network
        carriers, until recently regional carriers—as a group—have fared much better than
        the large network carriers.         This difference in financial performance between
        regional and large network carriers was largely due to the fact that most capacity
        purchase agreements (“CPAs”) between large network carriers and their regional
        partners largely insulated regional carriers from both demand risk and the risks
        associated with rising fuel prices during the life of the contract.19                  Thus, as
        demonstrated by Exhibit 6, the regional carriers continued to earn healthy
        operating profits for several years after 2001, notwithstanding the substantial
        losses incurred by their mainline partners.




19
  As described in more detail in Section III below, under a typical capacity purchase agreement between a
regional carrier and its mainline partner, fuel is a pass-through (i.e., fully reimbursed) expense for the
regional carrier. Likewise, the regional carrier receives the same compensation from the mainline partner
regardless of how many passengers are carried on its flights, or the fares those passengers pay.


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       assuming most of the risk while providing nearly double-digit margins for a slew
       of regional companies. Indeed, these contracts were so healthy that regional
       airlines at times came to the financial aid of those same majors. But those days
       are long gone, as mainline operators rein in costs, restructure the loosely written
       capacity purchase agreements and stringently enforce every condition of the new
       contracts. The effect of these changes has been devastating” [italics added].22

18.    Moreover, a series of mergers between large network carriers over the past decade
       (i.e.,   Delta/Northwest,        United/Continental,        American/TWA           and     US
       Airways/America West) has reduced the number of large network carriers, and,
       hence, the number of customers for regional carrier services.

19.    Finally, notwithstanding the fact that fuel is typically a “pass through” cost for
       regional carriers under a CPA, rising jet fuel prices have made regional jet (“RJ”)
       aircraft relatively less cost-effective. Thus, as fuel prices escalated, the demand for
       certain regional aircraft (in particular, those with smaller seating capacity) began to
       wane, placing tremendous pressure on the regional carriers. This is particularly
       true for the 50-seat (and smaller) RJs which make up the backbone of the U.S.
       regional carrier fleet generally, and of Pinnacle’s fleet in particular. As a result,
       since 2005 the large network carriers have reduced the number of 50-seat RJ block
       hours flown by their regional partners by 24%.23 Moreover, Delta has recently
       announced it will further reduce the number of 50-seat RJs in its regional carrier




22
  See “Collapse of The U.S. Regional Airline Industry is a Real Concern”, Aviation Week Blog, February
14, 2012.          http://www.aviationweek.com/Blogs.aspx?plckBlogId=Blog:7a78f54e-b3dd-4fa6-ae6e-
dff2ffd7bdbb&plckController=Blog&plckBlogPage=BlogViewPost&newspaperUserId=7a78f54e-b3dd-
4fa6-ae6e-dff2ffd7bdbb&plckPostId=Blog:7a78f54e-b3dd-4fa6-ae6e-dff2ffd7bdbbPost:e472752e-b8d0-
4dd5-86e8-2ab90e9fbeed&plckScript=blogScript&plckElementId=blogDest.
23
   See Exhibit 17 below. A block hour is defined as the amount of elapsed time from when an aircraft
leaves the gate at its origin until the time when it arrives at the destination gate.


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          fleet (operated by a variety of regional carriers including Pinnacle collectively
          referred to as “Delta Connection” carriers) from 325 to 125 or fewer.24

20.       Delta’s decision to dramatically reduce the size of its Delta Connection fleet has
          ominous implications for Pinnacle (and any current Delta Connection carrier that is
          unable to offer Delta regional lift at competitive rates). Indeed, only two months
          after announcing that it would substantially reduce its 50-seat flying, Delta also
          announced that Comair, its wholly-owned regional carrierʊwhose share of Delta’s
          regional carrier block hours dropped from 29.4% in 2004 to only 8.5% for the year
          ending September 30, 2012ʊwill be shut down at the end of September.25 In its
          letter to employees, Comair’s President noted that the shut-down of Comair “is an
          unfortunate necessity due to the economic limitations of our aging aircraft, cost
          structure, the long-term outlook for 50-seat aircraft, and our challenging industry
          and economy.”26

21.       In sum, Pinnacle and other regional carriers are now competing for a declining
          number of regional carrier flying opportunities available from fewer large network
          customers who are exerting substantial downward pressure on regional carrier
          rates and revenues.27 Thus, as demonstrated in Exhibit 6 above, regional carrier
          profit margins in 2011 reached their lowest level in a decade. Likewise, several
          once-prominent regional carriers, including Comair, Mesa and American Eagle
          have sought (or are currently seeking) to restructure under Chapter 11, and some




24
  See “Delta Fleet Deal Drops Close to 200 50-Seaters To Gain Larger RJs”, Aviation Daily, May 25,
2012. See also “Comair to Cease Operation,” Delta Press Release, July 27, 2012.
25
   See Exhibit 19 below and “Comair to Cease Operation,” Delta Press Release, July 27, 2012. A block
hour is defined as the amount of time elapsed from when an aircraft leaves the gate at its origin until it
arrives at the destination gate.
26
     See “Comair to Cease Operation,” Delta Press Release, July 27, 2012.
27
     See, for example, “When the Music Stops,” Flight International, May 3, 2011.


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          subsidiary Shuttle America (both Delta Connection carriers) by 70% and 38%,
          respectively.32

25.       To make matters worse, Pinnacle’s labor costs will also face substantial upward
          pressure as a result of the carrier’s need to exit unprofitable flying, which will
          shrink its workforce by over 30%.33 Pinnacle’s downsizing is expected to increase
          the average seniority among its Captains from                 years to      years.34 Since
          Pinnacle’s pilots, flight attendants and other unionized labor groups are paid based
          on their years of service (i.e., receive a higher hourly wage based on their years of
          seniority), downsizing will put upward pressure on Pinnacle’s labor costs.

26.       Pinnacle’s labor cost disadvantage versus other regional carriers is also the result
          of a variety of work rules that limit the productivity of its workforce and the most
          costly 401k retirement plan contribution of any regional carrier in the industry.35

27.       In sum, unless Pinnacle is able to reduce its labor costs, the Company’s only
          remaining contracts going forward (i.e., those with Delta) would be unprofitable.36
          Moreover, given the highly commoditized nature of providing regional lift to the
          large network carriers, Pinnacle must achieve a cost structure that will enable it to
          successfully compete for new flying opportunities against a number of growing
          regional carriers such as Compass, GoJet and Shuttle America that enjoy
          substantially lower cost structures due—in large part—to their substantially less


32
   See Exhibit 29 below. Compass’ 76-seat flying for Delta Connection is operated using E-175 regional
jets.
33
  Sources: 6.15 120523 data & assumptions for ALPA.Confidential.xlsx, and 7.5 120525 Pinnacle FA
model for USW_final_data, assumptions, work rules.Confidential.xlsx
34
     Source: Analysis of 6.46 120817 Data & Assumptions for ALPA.CONFIDENTIAL.xlsx.
35
  See Declaration of Jerrold Glass In Support Of Pinnacle Airlines Corp.’s Motion To Reject Collective
Bargaining Agreements With The Air Line Pilots Association, International, and The Association of Flight
Attendants-CWA, Pursuant To 11 U.S.C. § 1113, September 13, 2012 (hereafter “Declaration of Jerry
Glass”).
36
     See Testimony of Sean Menke, May 16, 2012, at pages 135 and 157.


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        senior workforces.        Simply put, absent labor cost savings, the Company will
        continue to cede flying to lower cost competitors, bleed cash and ultimately face
        liquidation.37 If, on the other hand, Pinnacle can reduce its labor costs to the
        targets contained in the Company’s business plan, it will achieve a cost structure
        that enables it to effectively compete for new flying opportunities thereby
        establishing a platform for future growth with Delta and/or other network carriers.

28.     The remainder of my declaration is organized as follows. Section III provides
        background information on the role of regional carriers in today’s hub-and-spoke
        networks, the economics of regional carriers, as well as the current challenges
        facing the regional airline industry. Section IV provides an overview of Pinnacle
        and its competitors. Section V discusses the reasons why Pinnacle must reduce its
        labor costs in order to be in a position to retain (and potentially expand) its flying
        for Delta and to compete for new flying opportunities for other large network
        carriers. Section VI summarizes my conclusions.

III.     BACKGROUND ON THE REGIONAL AIRLINE INDUSTRY

     (i) The Role of Regional Carriers in a Hub-and-Spoke Network

29.     Each of the large network carriers operates a “hub-and-spoke” network.38 A hub is
        a centralized point in an airline’s route network to which flights are routed so as to


37
   As noted by one industry observer following Delta’s announcement that it planned to remove
approximately 200 50-seat RJs from its Delta Connection fleet: “The Great Regional Feeding Frenzy of
2012 can now begin. I expect to see some carcasses... If things don’t change dramatically, I wouldn’t be
surprise to see Pinnacle disappear (along with a lot of flights in Memphis). At the very least, it’s going to
be a lot smaller… To me there seems to be a very clear line. Comair and Pinnacle will be lucky to still exist
after     the   dust    settles   while    the    rest     all    can   gain    something.”           Source:
http://crankyflier.com/2012/07/03/deltas-new-pilot-contract-kicks-off-the-great-regional-feeding-frenzy-of-
2012/.
38
   The use of hubs is not limited to the large network airlines. JetBlue, for example, consolidates its
connecting traffic at New York (JFK) and Boston, while Spirit Airlines operates a hub at Fort Lauderdale.
Similarly, Southwest Airlines, the largest LCC known for its point-to-point service model, combines traffic
flows at airports such as Baltimore, Houston/Hobby, Chicago/Midway and Phoenix to provide its


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        allow passengers to make connections between numerous origin and destination
        points. By combining passengers from various spoke cities at a central hub, each
        flight between the hub and a spoke city is able to carry passengers traveling to or
        from many different cities.

30.     When new spoke cities are added, airline networks exhibit positive network
        “spillover effects” because each newly added spoke creates multiple new
        connecting opportunities through the hub.39                    These new routings generate
        additional “flow” traffic on other routes served from the hub, which, in turn,
        supports additional flights.40 In short, routing traffic through a hub enables an
        airline to provide more frequent service to more cities than would be possible if it
        had to rely solely on local traffic.41 As shown in Exhibit 9, over 95% of all
        domestic city pairs generate 50 or fewer O&D passengers per day. Since this
        number of passengers is typically insufficient to support non-stop service, the
        ability to combine local and “flow” traffic on the same flights using a hub-and-
        spoke network is a critical feature of a network airline’s economic viability.




passengers with access to one- or two-stop routings for longer trips. Similarly, AirTran (now part of
Southwest) operates a large hub in Atlanta.
39
  For example, if a hub with 100 unique spoke destinations adds one additional spoke, passengers from the
newly added destination can travel to each of the 100 pre-existing spokes via the hub.
40
   Moreover, by combining traffic flows at a central hub airport, an airline can increase the “density” (i.e.,
the number of passengers) on each of the hub-to-spoke routes, thus allowing it to use larger, more cost
efficient aircraft than would otherwise be feasible. Similarly, combining traffic flows at hubs enables
network carriers to provide greater flight frequency than they otherwise could.
41
   “Local” traffic refers to passengers who are traveling between the two endpoints of a flight rather than
using the flight as an intermediate leg of their journey. It is noteworthy that hubs evolved in many
businesses and all network industries, not just airlines, precisely because they are highly efficient in moving
customers (as well as products and electronic signals, among others) between multiple points spread across
large geographic areas. In the telecommunications industry, for example, calls from one residence or
business to another are routed through a hub known as a “central office.” Just as it would be inefficient for
each pair of houses within a city to be connected via separate telephone lines, so too is it inefficient (and
prohibitively expensive) for airlines to provide non-stop service between all city-pairs.


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          brand) of the mainline partner, and thus, from the point of view of the passenger,
          represent integrated service on a single carrier.42

33.       Regional carriers play a crucial role in the hub-and-spoke networks of all large
          network carriers.     Many small- and medium-sized communities (e.g., Akron,
          Huntsville, Ithaca, etc.) do not consistently generate sufficient traffic to support
          service by the mainline aircraft.           By connecting small- and medium-sized
          communities with larger carriers’ hubs, regional carriers expand the scope of large
          carrier networks and provide passengers from these communities with access to
          those carriers’ global route network.

34.       By enabling large network carriers to economically provide service to smaller
          communities, regional carriers also help large network carriers to differentiate their
          services from those provided by LCCs, which tend to focus the bulk of their
          service on larger, more heavily-traveled, routes. While LCCs compete with large
          network carriers on approximately 95% of city-pairs generating 500 or more
          passengers per day, they only serve 9% of the more than 37,000 domestic city-
          pairs that generate fewer than 50 O&D passengers per day.43 Even though these
          city-pairs are small individually, they generate, in aggregate, nearly 22% of all
          domestic passenger revenue.44

35.       Likewise, regional carriers also provide network carriers with the ability to deploy
          a smaller aircraft at times of the day when passenger demand is insufficient to
          support a larger mainline jet. By deploying a regional aircraft at off-peak times of
          the day, large network carriers can offer passengers greater flight frequency (and,

42
   Unlike bilateral “codeshare” agreements between mainline carriers (e.g., Delta Airlines and Alaska
Airlines), the codeshare agreements between regional carriers and their mainline partner are unilateral, in
the sense that the two-letter code of the mainline partner (e.g., DL) is placed on flights operated by
Pinnacle, but not vice-versa.
43
     Source: Analysis of U.S. DOT DB1B database.
44
     Source: Analysis of U.S. DOT DB1B database.


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          thus, schedule options) than would be possible if they were limited to using only
          larger mainline jets. The ability to offer greater flight frequency by mixing both
          mainline and regional jets is particularly important for attracting higher yielding
          business travelers who valueʊand are willing to pay a premium over LCC fares
          forʊgreater flight frequency.

36.       As demonstrated by Exhibit 10, regional carriers have accounted for an increasing
          share of domestic flights offered by large network carriers over the past decade and
          a half. This shift to regional carriers is a result of several factors, including: (1)
          increased competition from LCCs, which have nearly doubled their share of
          domestic O&D passengers from 19.5% to 38% since 1998, primarily at the
          expense of large network carriers;45 (2) the advent of regional jets, which greatly
          increased the mission capabilities (i.e., range, speed, capacity and comfort) of
          regional aircraft, especially vis-à-vis older generation turboprop aircraft;46 and (3)
          the Chapter 11 restructurings of Delta, Northwest, United and US Airways, which
          dramatically increased the flexibility those carriers have to deploy RJsʊespecially
          70-seat and larger RJsʊto better match supply and demand across routes.




45
     See Exhibit 1 above.
46
  See, for example, Pinnacle Airlines Corp. 2010 10-K, page 6: “The growth in the number of passengers
using regional airlines and the revenues of regional airlines during the last two decades is attributable
primarily to the introduction of regional jet aircraft and their popularity with major airlines. Major airlines
sought to add regional jet aircraft in many markets to replace smaller turboprop aircraft and slightly larger
narrowbody aircraft. By adding regional jet aircraft, hub and spoke carriers were able to increase the scope
of their network by serving markets that could not be supported by larger narrowbody aircraft, reduce the
operating cost in markets previously supported by larger narrowbody aircraft, and increase the level of
passenger service in smaller markets previously serviced with smaller turboprop aircraft.”


                                                     23
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          exceptions, wholly-owned regional carriers provide lift exclusively to their
          mainline parents.48

38.       Independent regional carriers, on the other hand, are not owned by a mainline
          carrier, and frequently fly on behalf of multiple large network carriers. Several of
          today’s independent regional carriers were previously wholly-owned, but were
          divested by their mainline owners.49 Exhibit 11 shows that six of the ten largest
          regional carriers (including five of the six largest) in terms of ASMs are now
          independent.50 Further, as discussed above, Delta has announced that Comair will
          be shut down at the end of September.51




48
   One exception is Horizon Airlines (a wholly-owned subsidiary of Alaska Air Group), which also
provided regional lift to LCC Frontier between 2004 and 2007 at its Denver hub under a capacity purchase
agreement. See “Frontier Airlines and Horizon Air to Launch Inaugural Regional Jet Flight,” Frontier
Airlines Press Release, December, 31, 2003 and “Frontier Airlines Selects Republic Airlines as Regional
Partner to Operate New Fleet of Embraer 170 Aircraft Republic to Deliver 17, 76-Seat Embraer 170
Regional Jet Aircraft Over Next 23 Months,” Frontier Airlines Press Release, January, 11, 2007.
49
  As noted earlier, Continental Airlines owned ExpressJet before spinning it off in 2002 and Northwest
Airlines previously owned Pinnacle Airlines before spinning it off in 2003. Likewise, Delta sold Atlantic
Southeast to SkyWest in 2005 and Mesaba Airlines to Pinnacle Airlines Corp. in 2010. See “ExpressJet
Announces Pricing of Initial Public Offering”, Continental Airlines Press Release, April, 17, 2002;
“Continental Airlines Sells ExpressJet share,” Houston Chronicle, February 12, 2007; “Pinnacle Airlines
Announces Initial Public Offering,” Pinnacle Airlines Corp. Press Release, November, 24, 2003; “Delta Air
Lines Reaches Definitive Agreement To Sell Atlantic Southeast Airlines to SkyWest,” Delta Air Lines
Press Release, August 15, 2005; and “Pinnacle Airlines Corp. Acquires Mesaba Aviation, Inc.,” Pinnacle
Airlines Corp. Press Release, July 1, 2010.
50
  This is in stark contrast to 2000, when the four largest regional carriers (American Eagle, Comair,
Atlantic Southeast and Express Jet) were wholly-owned by their mainline partners. See Regional Airline
Association 2001 Annual Report, page 12.
51
     See “Comair to Cease Operation,” Delta Press Release, July 27, 2012.


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           EXHIBIT 11: TEN LARGEST REGIONAL CARRIERS AND THEIR MAINLINE
                              PARTNER(S), FYE 2012-Q3
                                                                                                                       FYE 2012Q3 ASMs
                    Regional Carrier           Ownership                      Mainline Partners                            (millions)
           1     SkyWest                      Independent         United, Delta, Alaska Airlines, US Airways                  37,002
           2     AMR Eagle                    Wholly Owned                         American                                   13,956
           3     Republic                     Independent           US Airways, United, Delta, American                       11,411
           4     Pinnacle Airlines            Independent                Delta, United*, US Airways*                          10,555
           5     Trans States                 Independent                 Delta, United, US Airways                            6,991
           6     Mesa Airlines                Independent                    US Airways, United                                4,299
           7     PSA/Piedmont                 Wholly Owned                        US Airways                                   3,298
           8     Air Wisconsin                Independent                         US Airways                                   2,875
           9     Horizon Air                  Wholly Owned                      Alaska Airlines                                2,648
           10    Comair                       Wholly Owned                          Delta                                      2,504
           * Pinnacle’s United and US Airways contracts are being were terminated by September 5, 2012.
           Source: OAG, 2011 and 2012.
           Notes: SkyWest includes SkyWest, ASA and ExpressJet; AMR Eagle includes American Eagle and Executive; Republic includes Republic,
           Chautauqua, Shuttle America and Lynx; Mesa includes Mesa, Air Midwest and Freedom; Trans States includes TransStates, Compass and
           GoJet; Pinnacle includes Pinnacle, Mesaba and Colgan.




39.    The growth of independent regional carriers such as SkyWest, Pinnacle and
       Republic is attributable to the fact that they have developed reputations for safety
       and reliability that are comparable to wholly-owned regional carriers. In addition
       to strong reputations for safety and reliability, the most successful and fastest
       growing independent regionals have also focused on keeping their costs contained,
       and, thus, have been able grow their share of regional carrier capacity by
       successfully competing for new flying opportunities.52 Exhibit 12 demonstrates
       that independent regional carriers have grown their share of regional capacity from
       56% in 2003 to 79% for the full year ending 2012 Q3.




52
  For example, SkyWest, the largest regional carrier in the country, recently announced an agreement to
acquire 100 new 70-90 seat Mitsubishi regional jets starting in 2017. See “Mitsubishi Aircraft and
SkyWest, Inc. Announce 100 Aircraft Agreement in Principle,” Mitsubishi Aircraft Corporation Press
Release, July 11, 2012.


                                                                     26
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       small turbo-prop flying and often on subsidized Essential Air Services (“EAS”)
       routes to small communities54ʊboth the regional and the mainline carrier share the
       risk associated with passenger demand, fares and fuel prices. Pinnacle, through its
       Colgan subsidiary, formerly operated a limited amount of pro-rate flying on behalf
       of United and US Airways, but has eliminated that flying due to its lack of
       profitability.55

41.    The bulk of today’s contracts between regional and mainline carriers are structured
       as “capacity purchase agreements,” whereby the regional carrier supplies lift to its
       mainline partner using regional aircraft (i.e., turboprops and RJs) in exchange for a
       fixed fee (i.e., a fixed dollar rate per block hour, day or departure) reimbursement
       of certain “pass through” costs (e.g., fuel, landing fees, etc.), and, potentially, other
       “incentive” payments if the regional carrier achieves specified levels of operational
       performance (e.g., on-time performance or completion factor).56

42.    A key element of a capacity purchase agreement is that the regional carrier
       receives the fixed payment per flight irrespective of the number of passengers


“The Role of Regional Airlines in the U.S. Airline Industry,” Silke Januszewki Forbes and Mara Lederman,
in Advances in Airline Economics, Volume 2, Darin Lee, Editor, page 200: “In the case of an independent
regional, the contract between the major and the regional will generally take one of two forms.
Historically, most contracts have been revenue-sharing agreements (also known in the industry as pro-rate
agreements).”
54
  EAS routes are routes between small U.S. communities and a large network carrier’s hub that receive a
subsidy from the U.S. Department of Transportation. Absent these subsidies, the U.S. DOT notes that
these communities would not receive commercial air service. See http://ostpxweb.dot.gov/aviation/x-
50%20role files/essentialairservice.htm.
55
  See First Spanjers Declaration, paragraph 27 and Pinnacle Form 8-K, July 9, 2012 (Letter from John
Spanjers to all employees).
56
   See, for example, Republic Airways Holdings 2010 10-K, page 56: “Under our fixed-fee arrangements
with our Partners, the Company receives fixed-fees for our capacity purchase agreements, as well as
reimbursement of specified “pass-through” costs on a gross basis with additional possible incentives from
our Partners for superior service.” See also AMR Eagle Form 10, page 78: “Under a capacity purchase
contract, the mainline carrier generally purchases the entire capacity of a set number of aircraft and
schedules the routes those aircraft fly. The mainline carrier pays the regional airline a fixed-fee for each
departure, with additional incentives based on performance metrics, including completion of flights and on-
time performance.”


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        carried or the fares they pay. Put differently, under a capacity purchase agreement
        all of the revenue risk associated with passenger demand (as well as fuel price
        fluctuations) is assumed by the mainline carrier.57 Similarly, under a capacity
        purchase agreement the mainline carrier is responsible for the sales and marketing
        of tickets, yield management and determining the schedule (i.e., the routes and
        flight times) of the regional carrier.

43.     Because the regional carrier’s revenue under a capacity purchase agreement is
        based on a formula that is independent of the number of passengers carried or the
        fares paid by passengers, the key determinant of a regional carrier’s ability to earn
        a profit is its ability to keep its costs in check.58 Moreover, since capacity purchase
        agreements typically dictate that many types of costs (including fuel, landing fees,
        aircraft ownership costs, insurance, etc.) are passed along to the mainline carrier,
        labor is, by a wide margin, the largest controllable cost for a regional carrier.59
        Thus, more than two thirds of Pinnacle’s total operating expenses (net of pass




57
   See Pinnacle Airlines Corp. 2010 Form 10-K, page 7: “Under CPAs, our major airline partners purchase
our flying capacity by paying pre-determined rates for specified flying, regardless of the number of
passengers on board or the amount of revenue collected from passengers.” See also, AMR Eagle Form 10,
page 78: “In addition, the mainline carrier and regional airline often enter into a contract pursuant to which
the mainline carrier bears the risk of changes in the price of fuel and other such costs that are passed
through to the mainline carrier partner. Regional airlines benefit from a capacity purchase contract because
they are sheltered from most of the elements that cause volatility in airline earnings, including variations in
ticket prices, passenger loads and fuel prices.”
58
   As discussed in Section V below, unlike mainline carriers, regional carriers have far less control over
other aspects of their operations, network, product and cost structure than do mainline carriers, and thus,
can do little outside of keeping their labor and other administrative costs in check in order to be able to
offer large network carriers competitive rates while also earning a profit margin sufficient to warrant
continued investment in the business.
59
   See Republic Airways Holdings Form 2010 Form 10-K, page 56: “The reimbursement of specified costs,
known as “pass-through costs”, may include aircraft ownership cost, passenger liability and hull insurance,
aircraft property taxes, fuel, landing fees and catering.” See also, AMR Eagle Form 10, page F-10: “Pass-
through costs, which are not subject to margin, include jet fuel, into-plane fueling, insurance, landing fees,
aircraft ownership and rent, air traffic control user fees, aircraft property taxes, and certain engine
maintenance costs, while rent at hub stations are absorbed by American.”


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          through costs) represent employee wages, salaries, benefits and other personnel
          expenses.60

        b. The Shift from Pro-Rate to Capacity Purchase Agreements Transformed
            Regional Airline Services Into a Largely Commodity Business

44.       Because capacity purchase agreements have shifted all of the route planning,
          revenue management, fuel volatility and passenger demand risk to the mainline
          carrier, the regional airline industry has largely become a commodity business,
          with each of the large network carriers relying on a variety of different regional
          carriers. As demonstrated by Exhibit 13, Delta currently diversifies its regional lift
          requirements across Pinnacle and four other regional carriers (or regional carriers’
          holding companies).61 Likewise, for the year ending September 30, 2012, United
          and US Airways relied on eight and seven different regional carriers,
          respectively.62




60
     See Exhibit 20 below.
61
     As noted earlier, Delta is shutting down Comair at the end of September.
62
   American is currently subject to a number of restrictions that limit its ability to source regional lift from
its independent regional carriers, but has sought to relax these restrictions from its CBA with its pilots
union as part of its bankruptcy restructuring.


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      EXHIBIT 13: REGIONAL CARRIER PARTNERS OF THE LARGE NETWORK CARRIERS,
                                   FYE 2012 Q3
                                                                                    FYE 2012Q3 Share of
                                                                                     Network Carrier's
       Network Carrier               Regional Partner           Ownership              Regional ASMs
           American            1   AMR Eagle                   Wholly Owned                 97.1%
                               2   Republic                    Independent                  2.9%

             Delta             1   SkyWest                     Independent                  39.6%
                               2   Pinnacle Airlines           Independent                  29.7%
                               3   Trans States                Independent                  13.3%
                               4   Republic                    Independent                   9.3%
                               5   Comair                      Wholly Owned                  8.1%

             United            1   SkyWest                      Independent                 72.2%
                               2   Republic                     Independent                 10.0%
                               3   Trans States                 Independent                  8.0%
                               4   Mesa Airlines                Independent                  4.2%
                               5   Pinnacle Airlines*           Independent                  3.9%
                               6   Commutair                    Independent                  1.1%
                               7   Silver Airlines              Independent                  0.5%
                               8   Cape Air                     Independent                  0.1%


          US Airways           1   Republic                    Independent                  33.2%
                               2   PSA/Piedmont                Wholly Owned                 22.5%
                               3   Mesa Airlines               Independent                  19.9%
                               4   Air Wisconsin               Independent                  19.6%
                               5   SkyWest                     Independent                   2.8%
                               6   Trans States                Independent                   1.6%
                               7   Pinnacle Airlines*          Independent                   0.4%
      * Pinnacle’s United and US Airways contracts were terminated as of September 5, 2012.
      Source: OAG; Pinnacle 8-K, July 9, 2012 (Letter from John Spanjers to All employees).
      Notes United including Continental. SkyWest includes SkyWest, ASA and ExpressJet; Republic
      includes Republic, Chautauqua, and Shuttle America; Trans States includes Trans States, Compass
      and GoJet; Pinnacle includes Pinnacle, Mesaba and Colgan.




45.     Further evidence that regional lift has become a commoditized business is the fact
        that United, Delta and US Airways all substantially changed the composition of
        their regional lift portfolios after emerging from Chapter 11. In particular, all three
        greatly reduced their reliance on higher cost wholly-owned regional carriers, and
        allocated the bulk of their regional flying to lower cost, independent regional




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          to over $30 billion in operating losses since 2001 and each of the surviving large
          network carriers restructuring under Chapter 11 bankruptcy.

48.       Many of the same challenges that caused the large network carriers to restructure
          have “spilled over” to the regional carriers. For example, the decline in short-haul
          demand (i.e., trips of less than 500 miles) due to the “hassle factor” has resulted in
          the loss of approximately 30 million annual short-haul O&D passengers.65
          Because regional carriers predominantly fly on routes of less than 500 miles,66 the
          demand for regional carrier services by the large network carriers has been
          particularly hard-hit by the reduction in short-haul traffic arising from the hassle
          factor.

49.       Similarly, although the sharp rise in the price of jet fuel has put pressure on all
          carriers, it has been particularly severe for regional carriers, since, as shown in
          Exhibit 16, 50-seat (and smaller) RJs—which still form the backbone of the
          regional carrier industry and comprise the bulk of Pinnacle’s fleet67—consume
          55% to 126% more fuel per seat hour than small mainline jets such as the Boeing
          737 or Airbus A-320, and thus, have become far less economic than before.68
          Thus, one industry observer has recently noted that it costs an airline 25 cents per




65
     Source: Analysis of U.S. DOT DB1B Survey data.
66
     In July 2012, 65% of regional carrier flights were 500 miles or less. Source: OAG.
67
  In 2011, 50-seat and smaller RJs accounted for 65.6% of total RJ block hours for the large network
carriers. Source: OAG. Pinnacle’s fleet currently consists of 140 50-seat CRJ-200s and 41 76-seat CRJ-
900s. See Pinnacle Form 8-K, August 17, 2012 (Letter from John Spanjers to All Employees regarding
Business Plan Update, August 16, 2012).
68
  See also “Distress Call: More Worries Arise for U.S. Regional Carriers,” Aviation Week & Space
Technology, November 21, 2011: “Many regional carriers are having a difficult time with 50-seat aircraft,
which have become unsuitable for many markets because of high fuel costs and the limited number of seats
over which to spread the higher costs….”


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          United and Continental’s merger in late 2010, just four US network groups exist,
          leaving fewer chairs in the game.”70

51.       As a result, the use of 50-seat and smaller RJs by the large network carriers has
          greatly diminished and is expected to decline even further in the future.71 As
          demonstrated by Exhibit 17, the large network carriers have already eliminated
          more than one million annual 50-seat (or smaller) RJ block hours between 2005
          and the full year ending September 30, 2012, a decrease of almost 25%, and, as
          recently as May of this year, Delta announced that it intends to reduce the number
          of 50-seat RJs in its Delta Connection fleet by more than 60%, from 325 to 125 or
          fewer.72




70
     Source: “When the Music Stops,” Flight International, May 3, 2011.
71
  As noted in the First Quarter 2010 edition of Regional Horizons at page 8: “‘Going forward, we believe
regional carriers have limited opportunities for organic growth,’ Raymond James analysts said. ‘While
legacy carriers will seek to outsource more flying to larger regional jets over time, in our view, this growth
will be offset by a reduction of smaller 50-seat regional jets. Consequently, growth for regionals will come
via consolidation or higher risk (non-fixed fee, contractual flying).’”
72
  See “Delta Fleet Deal Drops Close to 200 50-Seaters To Gain Larger RJs,” Aviation Daily, May 25,
2012. See also “Comair to Cease Operation,” Delta Press Release, July 27, 2012.


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        $60 million in annual cost savings required to return its 50-seat RJ operations to
        profitability.74

53.     Moreover, even SkyWest, the largestʊand, historically, one of the most
        successfulʊ independent regional carriers has not been immune from the recent
        challenges facing the regional airline industry. For example, in 2011 SkyWest’s
        pre-tax margin excluding special charges was -1.4% (its first annual loss in 23
        years).75 Furthermore, SkyWest’s management has acknowledged that it needs to
        achieve cost savings in order to remain competitive.76

54.     As demonstrated in Exhibit 18 below, the challenging conditions for regional
        carriers have resulted in industry-wide operating margins in 2011 falling to their
        lowest level in a decade.77




74
 Source: “Republic Says Troubled Chautauqua Could be Split From Holding Company,” Aviation Daily,
May 2, 2012.
75
  See “Utah’s SkyWest Posts First Annual Loss Since 1988,” The Salt Lake Tribune, February 16, 2012,
and SkyWest SEC 10K filings.
76
   For example, in a conference call with financial analysts discussing its 2011 earnings, SkyWest’s CEO
Jerry Atkin stated “What I was suggesting is we admittedly have a gap in terms of our cost competitiveness
at the ExpressJet operation. We will get some of it this year. It’ll take at least a second year and maybe a
small part of the third year to get it to fully competitive costs.” Mr. Atkin further noted that “The challenge
of getting control of ExpressJet also delayed cost reduction efforts at ASA. We experienced substantial
contract rate reductions at ASA at the end of 2010 that affected all of 2011.” See “Q4 2011 SkyWest
Earnings Conference Call-Final”, Dow Jones, February 16, 2012.
77
  See “Collapse of The U.S. Regional Airline Industry is a Real Concern”, Aviation Week Blog, February
14, 2012.          http://www.aviationweek.com/Blogs.aspx?plckBlogId=Blog:7a78f54e-b3dd-4fa6-ae6e-
dff2ffd7bdbb&plckController=Blog&plckBlogPage=BlogViewPost&newspaperUserId=7a78f54e-b3dd-
4fa6-ae6e-dff2ffd7bdbb&plckPostId=Blog:7a78f54e-b3dd-4fa6-ae6e-dff2ffd7bdbbPost:e472752e-b8d0-
4dd5-86e8-2ab90e9fbeed&plckScript=blogScript&plckElementId=blogDest.


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             competing for flying opportunities at the four remaining large network carriers.
             Unless Pinnacle is able to lower its costs to the level where it can earn a profit
             margin on its remaining contracts with Delta sufficient to reinvest in the Company,
             it risks shrinking further or even being forced out of business entirely.

IV.          OVERVIEW OF PINNACLE AND ITS COMPETITORS

      (i) Pinnacle

57.          Pinnacle Airlines was founded in 1985 as Express Airlines I to provide regional lift
             to Republic Airlines (which was acquired by Northwest in 1986).82 On April 1,
             1997, Pinnacle was acquired by Northwest Airlines Corporation.83                   In 2003
             Pinnacle was spun-off from Northwest through an initial public offering but
             continued to operate as a Northwest Airlink partner through a multi-year Airline
             Services Agreement with Northwest.84           Pinnacle acquired Colgan Airlines in
             January 2007 and Mesaba Airlines in July 2010.85 For the full year ending 2012-
             Q3, Pinnacle was the fourth largest U.S. regional carrier after SkyWest, American
             Eagle and Republic in terms of available seat miles.86

58.          Pinnacle operates a fleet of 181 aircraft (all of them RJs), consisting of 140 50-seat
             Bombardier CRJ-200 and 41 76-seat Bombardier CRJ-900s.87 These aircraft are



82
     Source: Pinnacle SEC S-1 filing, February 25, 2002, pages 4 and 38.
83
     Ibid.
84
     Source: Pinnacle Airlines 2003 Annual Report, pages 3 and 40.
85
     Source: Pinnacle 2007 SEC 10K report, page 1, and Pinnacle 2010 SEC 10K report, page 19.
86
     Source: OAG.
87
  Source: Pinnacle 8-K, August 17, 2012. Pinnacle also currently operates 16 additional CRJ-900 aircraft
scheduled to be wound down and removed from their fleet in the first half of 2013. See Declaration Of
John Spanjers In Support Of Pinnacle Airlines Corp.’s Motion To Reject Collective Bargaining
Agreements With The Air Line Pilots Association, International, and The Association of Flight Attendants-
CWA, Pursuant To 11 U.S.C. § 1113, September 13, 2012 (hereafter “Second Spanjers Declaration”),
paragraph 9.


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          operated as Delta Connection flights on behalf of Delta Air Lines, principally
          providing short- and medium-haul flights to and from Delta’s hub airports in
          Atlanta, Detroit, Memphis, New York City (John F. Kennedy) and Minneapolis/St.
          Paul.88

59.       Until recently, Pinnacle’s Colgan subsidiary also operated 55 turboprops (a
          combination of 74-seat Bombardier Q-400s and 34-seat Saab 340s).89 Colgan’s
          sub-fleet of Q-400 turboprops operated as United Express flights on behalf of
          United Airlines, primarily on routes to/from United’s hubs in Newark,
          Washington-Dulles and Houston.90 Colgan’s sub-fleet of Saab 340 turboprops
          operated as United Express flights on routes to/from United’s hubs in Houston and
          Washington-Dulles and as US Airways Express flights on EAS routes throughout
          the Northeast.91

60.       In addition to flight operations, Pinnacle formerly offered ground handling services
          (e.g., loading and unloading of checked bags, etc.) at several airports both for
          flights it operates on behalf of its mainline partners as well as for other airlines. As
          part of its restructuring, however, Pinnacle terminated all of its ground handling
          operations.92

61.       As described above, a combination of factors, including fierce competition among
          regional carriers for a shrinking set of regional flying opportunities from fewer



88
     Source: OAG, July 2012.
89
   Source: “Pinnacle Airlines Debtor-in-Possession Financing Approved”, May 16, 2012. Colgan’s
turboprop operations were wound down as of September 5, 2012. See Pinnacle 8-K, July 9, 2012 (Letter
from John Spanjers to All employees): “United asked us to adjust that schedule and wind down all
operations by September 5, 2012 and we agreed.”
90
     Source: OAG, July 2012.
91
  Sources: OAG 2012 and First Spanjers Declaration, paragraph 8. See also Pinnacle 8-K, July 9, 2012
(Letter from John Spanjers to All employees).
92
     See Second Spanjers Declaration, paragraph 9.


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          large network carriers and higher costs and operational difficulties related to the
          Company’s pilots seniority integration, resulted in Pinnacle losing over $30
          million in 2011. Likewise, Pinnacle’s net margin in 2011 of -2.4% was the lowest
          the Company had experienced since 1998 (the year Northwest Airlines suffered
          from a two-week strike).93


      (ii) Pinnacle’s Competitors

62.       Pinnacle competes with a number of other regional carriers, many of which—like
          Pinnacle—are independent (e.g., Republic, SkyWest, Trans States, etc.) and others
          of which are wholly-owned (e.g., American Eagle).

63.       As part of its restructuring, Pinnacle has already wound down its turboprop
          operations on behalf of United and US Airways, leaving Delta as the only
          remaining customer for its services.94            However, Delta currently procures its
          regional lift needs from both Pinnacle and a variety of other regional carriers (i.e.,
          the Delta Connection carriers) and, as such, it is essential that Pinnacle is able to
          restructure its costs so as to be competitive with these other carriers. In addition to
          Pinnacle, which accounted for 29.7% of Delta Connection capacity for the full
          year ending September 30, 2012, the Delta Connection carriers currently include:95

          x   SkyWest (and its subsidiary ExpressJet), which operate (as Delta Connection)
              a fleet of 50-seat CRJ-200s, 65-seat CRJ-700s, 76-seat CRJ-900s and 30-seat
              Embraer 120 turboprops. For the year ending September 30, 2012, SkyWest


93
     Sources: http://www nmb.gov/publicinfo/airline-strikes html, Pinnacle Airlines Form S-1, and 10-Ks.
94
  See First Spanjers Declaration, paragraph 8. See also Pinnacle 8-k, July 9, 2012 (Letter from John
Spanjers to All employees): “United asked us to adjust that schedule and wind down all operations by
September 5, 2012 and we agreed.”
95
      Source:      http://www.delta.com/planning reservations/plan flight/aircraft types layout/index.jsp,
http://www.delta.com/planning reservations/plan flight/flight partners/delta connection carriers/index.jsp
and OAG.


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            and ExpressJet accounted for approximately 39.6% of Delta Connection
            capacity.

     x      Republic, which, through its Chautauqua and Shuttle America subsidiaries,
            operates (as Delta Connection) a fleet of 50-seat ERJ-145s, 69-seat E-170s and
            76-seat E-175s. For the full year ending September 30, 2012, Chautauqua and
            Shuttle America accounted for approximately 9.3% of Delta Connection
            capacity.

     x      Trans States Holding, which, through its GoJet and Compass Airlines
            subsidiaries, operates a fleet of 65-seat CRJ-700s, 69-seat E-170s and 76-seat
            E-175s. For the full year ending September 30, 2012, GoJet and Compass
            Airlines accounted for approximately 13.3% of Delta Connection capacity.

     x      Comair, a wholly-owned subsidiary of Delta which operates a fleet of 50-seat
            CRJ-200s, 65-seat CRJ-700s and 76-seat CRJ-900 regional jets. For the full
            year ending September 30, 2012, Comair accounted for approximately 8.1% of
            Delta Connection capacity. As noted above, however, Delta will be shutting
            down Comair at the end of September.

64.      In order for Pinnacle to expand its customer base beyond Delta, it must achieve a
         cost structure that would enable it to compete with other independent, non-Delta
         Connection carriers. These carriers include:

     x      Mesa, an independent regional carrier that currently operates a fleet of 37-seat
            Dash-8 turboprops, 50-seat CRJ-200, 66-seat CRJ-700 and 79-seat CRJ-900s
            on behalf of US Airways and United Airlines.96




96
 As recently as 2010, Mesa subsidiary Freedom Airlines operated as a Delta Connection carrier. Sources:
OAG and U.S. DOT T100 database.


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     x      Air Wisconsin, an independent regional carrier that operates a fleet of 50-seat
            CRJ-200s on behalf of US Airways.

     x      American Eagle and Executive Airlines, wholly owned subsidiaries of AMR
            Corporation (the parent of American Airlines), which collectively operate a
            fleet of 63-seat CRJ-700s, 37 to 50-seat ERJ-135/140/145s and 64 to 66 seat
            ATR-72 turboprop aircraft.                Like Pinnacle, AMR Eagle is currently
            restructuring under Chapter 11.

V.       IN ORDER TO REMAIN VIABLE IN THE INCREASINGLY COMPETITIVE
         REGIONAL AIRLINE INDUSTRY, PINNACLE MUST REDUCE ITS LABOR
         COSTS

     (i) Labor Represents—By a Wide Margin—Pinnacle’s Single Largest
         Controllable Cost

65.      Given the highly commoditized nature of the market for regional lift procured
         under CPAs and the small handful of large network carriers procuring such
         services, it is critical for a regional carrier to have a low cost structureʊand in
         particular, a low labor cost structureʊin order to remain viable. Indeed, aside
         from safety and operational reliability, a competitive labor cost structure is likely
         to be the most important determinant of a regional carrier’s long term viability.
         This is because under a capacity purchase agreement, labor accounts for the bulk
         of a regional carrier’s controllable (i.e., non-pass through) costs. Moreover, unlike
         mainline carriers, regional carriers have far less control over other aspects of their
         operations, network, product and cost structure than do mainline carriers,97 and
         thus, can do little outside of keeping their labor and other administrative costs in
         check in order to be able to offer large network carriers competitive rates while


97
   For example, since the mainline partner dictates the aircraft, seating configuration, routes and flight
schedules of its regional partners, a regional carrier is largely unable to gain a cost advantage over another
regional carrier through higher aircraft utilization, greater seating density, or by flying to secondary, lower
cost airports.


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          materials cost, headquarters, non-union wages and headcount, and other items.100
          Finally, it is my understanding that the Company has completed or is in the process
          of winding down all of its unprofitable turbo-prop operations, as well as its ground
          operations in order to help restore the Company’s viability.101


      (iii)Pinnacle Faces Upward Pressure on Its Already High Labor Costs Because of
           Its Restructuring

71.       In 2011, Pinnacle’s unit labor costs were among the highest in the regional carrier
          industry. For example, as shown in Exhibit 23, Pinnacle’s102 average pilot cost per
          pilot block hour103 in 2011 for RJs with more than 50 seats was among the highest
          in the industry and more than 30% higher than the average of the Delta Connection
          carriers with the exception of Comair (which Delta is in the process of shutting
          down because of its high cost structure).104 Also notable is the fact that Pinnacle’s
          pilot costs per block hour were approximately 70% and 80% higher than Delta
          Connection carriers Compass and GoJet, respectively. Moreover, American Eagle
          is seeking $43.1 million in annualized cost savings from its pilots, which would
          substantially reduce its hourly pilot costs.105




100
      See Declaration of Virginia Hughes, paragraph 20.
101
      See Second Spanjers Declaration, paragraph 9 and Declaration of Virginia Hughes, paragraph 18.
102
    Pinnacle and Mesaba, which are reported separately in the DOT Form 41 database, are combined for all
of the Form 41 analysis in this report and referred to as Pinnacle.
103
    For regional airlines, each aircraft block hour results in two pilot block hours (i.e., one captain and one
first officer).
104
   Source: U.S. DOT Form 41. ASA’s high cost per pilot block rate of $184 is the result of unusually
high reported costs for its CRJ-700 of $194.80. For its CRJ-900s, ASA’s pilot cost per block hour is
$137.50, comparable to SkyWest’s costs. Using this rate for ASA results in an average for the DCI carriers
excluding Comair of $122.14 and based on this average, Pinnacle was 43.3% higher than average of the
other DCI carriers excluding Comair in 2011.
105
   Source: http://www.restructuringamr.com/ae-our-people-alpa.asp. It is my understanding that AMR
Eagle has reached tentative agreements with its pilots which—if ratified—could result in a slightly


                                                     49
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75.       Because most airline employees (excluding management) are paid an hourly rate
          based on their years of service, a carrier with high average seniority (like Pinnacle)
          can have substantially higher overall labor costs even if its hourly rates (“pay
          scales”) are comparable with those of other regional carriers. Pinnacle’s high
          seniority results from several factors, including the fact that Pinnacle itself is the
          product of the merger of two “legacy” regional carriers (Mesaba and Pinnacle)
          whose employees brought their accrued seniority with them when they became
          part of Pinnacle and a lack of growth (and thus hiring) by mainline airlines who
          had previously hired experienced pilots from the regionals.111

76.       Even before the drawdown of its turboprop flying and pending removal of certain
          CRJ-900 flying, Pinnacle’s pilot seniority was higher than that of other
          independent regionals (e.g., Republic, Compass, and GoJet).112 However, because
          furloughs are taken off the bottom of the seniority list (i.e., impact the most junior,
          and thus, lowest paid employees), the elimination of Pinnacle’s turboprop flying,
          in addition to the reduction of its CRJ-900 flying for Delta, will further exacerbate
          Pinnacle’s seniority disadvantage.             As an example of Pinnacle’s seniority
          disadvantage vis-à-vis other independent regional carriers, Exhibit 26 compares
          the post-drawdown seniority distribution for Pinnacle113 to the estimated


110
      See Declaration of Jerry Glass.
111
   In addition to high average seniority of many former Mesaba and Pinnacle pilots, several former Colgan
pilots that will remain after the shutdown of the Company’s turboprop operations have extremely high
seniority. For example, there are      former Colgan pilots with  or more years of service. Source: 4.20
ISLasof6MAY12.CONFIDENTIAL.
112
   Pinnacle’s relatively higher average seniority vis-à-vis other independent regionals such as Republic and
SkyWest stems from the fact that the latter carriers grew far faster than Pinnacle when most RJs were being
delivered between 1998 and 2008. For example, between 1998 and 2008, Pinnacle’s fleet grew only 86%
(from 121 to 225) compared to 183% (from 96 to 272) for SkyWest and 536% (from 36 to 229) for
Republic. Sources: Annual Reports of the Regional Airline Association, 1999 and 2008. Republic includes
Chautauqua, Republic and Shuttle America; Pinnacle includes Express Airlines I, Pinnacle and Mesaba;
SkyWest includes SkyWest Airlines.
113
  The drawdown is only for the 16 CRJ-900s and turbo props. Although it is known the Delta plans to fly
200 fewer 50-seat RJs in the future (see “Delta Fleet Deal Drops Close to 200 50-Seaters To Gain Larger


                                                    53
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        distributions for Compass and GoJet captains.114 Exhibit 26 shows that after the
        drawdown, all of Pinnacle’s captains will have seven or more years of service, and
        nearly a quarter of Pinnacle’s captains will have 15 or more years of service. In
        contrast, the most senior captains for Compass and GoJet have six and eight years
        of seniority, respectively.115

           EXHIBIT 26: COMPARISON OF PINNACLE, COMPASS AND GOJET CAPTAIN
                              SENIORITY DISTRIBUTIONS




RJs”, Aviation Daily, May 25, 2012.) no assumption was made as to how this will affect Pinnacle’s fleet
going forward.
114
    The actual seniority lists for most carriers are not publicly available. However, because the timing of
Compass and GoJet’s fleet deliveries are publicly known, one can reasonably estimate their pilot seniority
distributions by making assumptions regarding pilot-to-aircraft staffing ratios as well as attrition rates. For
the purposes of Exhibit 26, I assumed an annual pilot attrition rate of 10% for Compass and GoJet and a
staffing ratio of 10.5 pilots per aircraft. Moreover, because pilots and other workgroups (e.g., flight
attendants) are typically added to an airline’s roster in similar ratios as carriers grow, I believe that the
comparison of pilot seniority distributions for Pinnacle versus Compass and GoJet’s pilots would be typical
of other workgroups for the two carriers. See also Appendix D.
115
   Likewise, based on my analysis of Republic’s pilot seniority list (which became public as part of a
seniority integration arbitration award), I estimate that only 5% of that carrier’s captains have 15 or more
years of service, compared to % for Pinnacle. Source: Arbitrator Eischen’s Final Award in the Matter
of Seniority List Integration Arbitration Under Allegheny-MOHAWK Labor Protective Provisions, Section
13(b), 11/9/2009.


                                                     54
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          cost structure that will enable it to offer competitive rates for large RJ flying, such
          as for its CRJ-900 aircraft.119 Not only are large RJs far more fuel efficient on a
          per seat-mile or seat-hour basis than smaller (i.e., 50-seat or fewer) RJs, they are
          also large enough to be configured with First Class seating, thus enabling network
          carriers to generate additional revenue.120 Thus, while Delta plans to eliminate
          approximately 200 50-seat RJs from its Delta Connection fleet, it also plans to
          expand its two-class large RJ fleet by 70 aircraft over the next several years.121
          Similarly, American has indicated that a key component of its restructuring plan
          under Chapter 11 is to add substantially more dual-class large RJs,122 some of
          which will almost certainly be operated by independent regional carriers.123

81.       It is my understanding that Delta has already informed Pinnacle that the bids it has
          received from other regional carriers to perform large RJ flying are significantly
          below what Delta currently pays Pinnacle to operate the CRJ-900.124 Based on my


119
      As noted earlier, other current large RJs include the CRJ-700, E-170 and E-175.
120
    Currently, all 70-seat or larger RJs deployed by the large network carriers have First Class. See “US
Airways Completes First Class Installation on Regional Jets,” Flight Global, January 9, 2012;
http://www.delta.com/planning reservations/plan flight/aircraft types layout/index.jsp (Delta connection
seat maps); http://www.united.com/page/article/0,6867,50597,00 html (United Express CRJ-700 seat map);
and http://www.united.com/page/article/0,6867,51212,00.html (United Express E-170 seat map).
121
  See “Delta to Take Delivery of Boeing 717 Aircraft Upon Ratification of Pilot Tentative Agreement,”
Delta Air Lines Press Release, May 22, 2012.
122
    See, for example, Memorandum of Decision, In re: AMR Corporation, et al., United States Bankruptcy
Court, Southern District of New York, August 15, 2012, Case No. 11-15463 (SHL) page 64: “The Court
finds that the information in the Business Plan on regional jets is in line with American’s regional jet “ask”
in the March 21 Proposal, which caps the number of aircraft at the 51 to 88 seat range at the larger of 255
or 50% of the total number of mainline aircraft in use at the time. The request for 255 regional aircraft is
very much in line with the projected need in the Business Plan of [redacted].”
123
   See¸ for example, “Letter from Don Garton to American Eagle and Executive Employees,” March 21,
2012: “As we all know, American has expressed the desire to diversify this feed among several regional
carriers. While Eagle will certainly seek to compete for American’s business, we fully expect that other
competitors will be awarded some of this future flying.”
124
   See, Pinnacle Form 8-K, August 17, 2012 (Letter to All Employees): “Second, the bids Delta has
received from other regional carriers for 76-seat jet flying were significantly below what they pay for
Pinnacle’s CRJ-900 flying. Not surprisingly, those other airlines are some of the newer entrants in the
industry, or carriers that have managed to grow in recent years (allowing them to maintain their cost


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         approximately $309,000 higher than Compass and $143,000 higher than Shuttle
         America, SkyWest and ExpressJet/ASA.128

83.      Although limitations in the Form 41 data do not allow me to compute a similar
         cost gap for flight attendants, I estimate that the Company’s annual wage and
         wage-related disadvantage attributable to flight attendants per large RJ vis-à-vis
         Compass and GoJet is approximately                     and             respectively.129

      (v) Without Substantial Labor Cost Savings, Pinnacle Will Also Be Unable to
          Achieve a Cost Structure That Enable It to Earn a Profit Sufficient to Attract
          Continued Investment

84.      In sum, Pinnacle is now at the most critical crossroads in its more than 25 year
         history.   Faced with a shrinking set of customers under intense competitive
         pressures to control their own costs, rising fuel prices that have made its regional
         aircraft less economic to operate, and a substantial reduction in the demand for
         short-haul trips, Pinnacle must adapt to the new competitive environment or risk a
         downward spiral of increasing losses, dwindling cash reserves and a potential
         liquidation.

85.      Delta currently has several other carriers from which it can procure regional lift—
         most with costs that are substantially lower than Pinnacle’s. Moreover, due their
         lower cost structures, these other independent Delta Connection carriers have been
         able to weather the turmoil currently re-shaping the regional airline industry far


128
    This calculation follows from the pilot costs per block hour figures in Exhibit 29 assuming two pilots
per aircraft and 9.5 hours of aircraft utilization each day for an entire year. For example, Pinnacle annual
CRJ-900 pilot costs would equal $147.35 × 9.5 × 365 × 2 = $1,021,891 whereas Compass’ annual E-175
pilot costs would equal $102.73 × 9.5 × 365 × 2 = $712,450, for a difference of $309,440. Compared to
GoJet (which currently flies 65-seat CRJ-700s as a Delta Connection carrier), Pinnacle annual pilot cost
disadvantage is $352,103.
129
   Because Compass and GoJet are both relatively new carriers, I am able to estimate their flight attendant
seniority distributions based on the timing of their aircraft deliveries by making use of a minimal number of
assumptions. See Appendix D.


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       margin sufficient to attract new investment.131 Only if Pinnacle is able to reduce
       its costs to competitive levels, can it return to profitability and establish a viable
       platform for future growth.




VI.     CONCLUSIONS

87.    Pinnacle is at a critical juncture in its 25 plus year history. Faced with dwindling
       demand for 50-seat flying, fewer potential customers for its services, a more senior
       workforce than many of its peers and, consequently, labor costs for 76-seat flying
       that are the highest among the surviving Delta Connection carriers, Pinnacle must
       reduce its labor costs in order to remain viable.

88.    Given the highly commoditized nature of regional lift, there is little reason to
       believe that Delta—or any other large network carrier for that matter—would elect
       to pay Pinnacle a premium over a host of other growing, lower cost regional
       carriers such as Compass, GoJet and Shuttle America for providing the same lift
       services. Simply put, absent labor cost savings, the Company faces a similar fate
       to that of other once prominent regional carriers including Comair and Atlantic
       Coast. These carriers failed to confront their rising cost structures, and, as a result,
       lost market share to lower cost competitors and were eventually were forced to
       liquidate.

89.    If, on the other hand, Pinnacle can reduce its labor costs to the targeted levels, the
       Company will achieve a cost structure to compete effectively for new flying
       opportunities—including additional 76-seat flying for Delta—against lower cost
       regional carriers including Compass, Shuttle America and GoJet and establish a
       platform for viability and future growth.

131
   As noted in Exhibit 7 and Exhibit 8 above, in 2011, Pinnacle had a net margin of -2.4% and incurred net
losses of $30 million.


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             APPENDIX A: CURRICULUM VITAE OF DANIEL M. KASPER

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                        200 State Street
                        9th Floor
                        Boston, MA 02109
                        (617) 520-0200 (main)
                        (617) 520-0260 (direct)
                        E-mail: dkasper@compasslexecon.com

   PROFESSIONAL EXPERIENCE:


   Compass Lexecon, Boston, MA
   Senior Consultant, March 2011-Present


   PREVIOUS PROFESSIONAL EXPERIENCE:


        November 1997-February 2011: Managing Director & Head of the
        Transportation Practice, Cambridge, MA Office, LECG (formerly, The Law &
        Economics Consulting Group)
        Mr. Kasper was the founding director of LECG’s Cambridge office and head of
        the firm’s transportation practice. LECG was a leading provider of expertise to
        domestic and international clients in complex matters involving economics,
        finance and accounting. Mr. Kasper’s practice focuses on economic, financial,
        labor, regulatory and competition policy issues in the transportation industries.
        Mr. Kasper’s consulting clients have included most major U.S. airlines, several
        foreign airlines, the Air Transport Association, the American Association of
        Railroads, among others. In addition to consulting, Mr. Kasper is an experienced
        expert witness who has testified in numerous matters in the U.S. and Canada. His
        expert testimony includes matters before legislative bodies (U.S. and Canada),
        U.S. Executive Agencies (U.S. Department of Transportation, U.S. Department of
        Labor, National Mediation Board), Presidential Emergency Boards, arbitration
        panels, and courts in the United States and Canada on a range of transportation
        industry economic issues.




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       1993-1997:      Partner and Chairman, Transportation Industry Program,
       COOPERS & LYBRAND CONSULTING
       Mr. Kasper joined Coopers & Lybrand in 1993 (when C&L acquired Harbridge
       House, Inc.). He headed C&L’s Transportation Industry Program and directed a
       number of engagements involving domestic and international transportation
       clients in both the private and public sectors including major airlines, railroads
       (AMTRAK, the MBTA), airports, and turnpike authorities in Massachusetts and
       New Jersey. He also led a Congressionally-mandated review of the Federal
       Aviation Administration's performance and financial requirements.

       1993: Member, UNITED STATES NATIONAL AIRLINE COMMISSION
       In 1993, Mr. Kasper was appointed as one of fifteen voting members of the U.S.
       National Airline Commission, which was created by an act of Congress to assess
       the causes and potential cures for the economic troubles then plaguing the U.S.
       airline industry. After conducting extensive public hearings and analyses, the
       Commission submitted its Report and recommendations to the President and
       Congress in September of 1993. These recommendations included a number of
       proposed changes in Federal regulatory policy.

       1983-1993: Vice President and Corporate Director, HABRIDGE HOUSE, Inc.
       Mr. Kasper managed the firm’s transportation practice and was responsible for a
       wide array of projects involving domestic and international transportation issues
       affecting every mode of transportation. His clients included the U.S. Secretary of
       Transportation (assistance in preparing the National Transportation Policy
       Statement including analyses of issues affecting all transport modes) and the
       Office of the Secretary of Defense (analysis of the Civil Reserve Air Fleet
       Program).

       1979-1983: UNITED STATES CIVIL AERONAUTICS BOARD
       Director of International Aviation: Mr. Kasper served as Director of International
       Aviation, the Board’s primary advisor and chief line officer for all matters
       involving international aviation. Mr. Kasper frequently represented the Board at
       sub-Cabinet meetings and on inter-agency working groups responsible for
       developing trade sanctions and other responses to international aviation disputes.




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        1976-1981: Faculty, HARVARD BUSINESS SCHOOL
        While on the faculty of the Harvard Business School, Mr. Kasper focused on the
        impact of alternative forms of government regulation on the management and
        performance of business organizations and on the study of national economic
        policies and strategies. Mr. Kasper authored a number of case studies and articles
        on various aspects of the transportation and telecommunication industries.
        While at Harvard, Mr. Kasper was also a member and active participant in the
        Harvard Regulatory Reform Project conducted under the auspices of the Kennedy
        School of Government. He also consulted with firms in the telecommunications
        and computer industries to help them anticipate and prepare for the impact of
        telecommunications deregulation on their businesses.

        1971-1976: Faculty, UNIV. OF SOUTHERN CALIFORNIA SCHOOL OF
        BUSINESS ADMINISTRATION
        While at USC, Mr. Kasper developed, administered and taught courses dealing
        with the control of business activities by means of direct government regulation,
        the enforcement of private contracts, and through the use of tort law. His research
        focused on the regulation of transportation, telecommunications industries and
        workplace safety. He also served as a member of the Faculty Senate.


   EDUCATION:
        Bachelor of Arts, Political Science, University of Kansas
        Masters in Business Administration, University of Chicago
        Juris Doctorate, University of Chicago


   TESTIMONY SINCE SEPTEMBER 2006


   In re: AMR, Corporation, et al., Debtors.
          Expert Declaration, deposition and trial testimony in regarding airline industry
          economics, finance and competition. The United States Bankruptcy Court for
          the Southern District of New York, Chapter 11, Case No. 11-15463 (SHL),
          2012.




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   Air Transport Association of America, Inc. v. Export-Import Bank of the United
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          on U.S. airline competitiveness and employment. United States District Court
          For the District of Columbia, Civil Action No. 11-cv-2024, November 2011.


   Horizon Airlines vs. International Brotherhood of Teamsters, Local 1224
          Expert testimony before Ira F. Jaffe, Independent Arbitrator, In the Matter of the
          Interest Arbitration Between International Brotherhood of Teamsters, Local
          1224 and Horizon Air Industries, Inc. Seattle WA, September 2011.


   United Technologies vs. Rolls Royce
          Expert Report in the Matter of Certain Turbomachinery Blades, Engines and
          Components Thereof, United States International Trade Commission
          Investigation No. 337-TA-751, June 24, 2011.


   Atlas Air Inc. and Polar Air Cargo, Inc. vs. International Brotherhood of
   Teamsters, Airline Division
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          the International Brotherhood of Teamsters, Airline Division. Washington,
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   Delta/AirTran Baggage Fee Antitrust Litigation
          Class Certification Expert reports and deposition testimony in Delta/AirTran
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   Allied Pilots Association vs. American Airlines, Inc.
       Expert analysis and arbitration testimony regarding economics of international
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        bargaining agreement, April 2009.

   Midwest Airlines, Inc. vs. Air Line Pilots Association and Association of Flight
   Attendants, CWA.
        Expert analysis and arbitration testimony regarding use of regional codeshare
        partners in U.S. airline industry, November 2008 and December 2009.


   United Air Lines, Inc. vs. Lisa Stout, individually and the marital community
   comprised of Lisa and Ray C. Stout
        Expert report and deposition testimony regarding potential economic damages
        resulting from termination of employment. United States District Court, Western
        District of Washington at Seattle, Civil Action No.CV07-3682-JCC. March 2009.


   United Air Lines, Inc vs. Air Line Pilots Association
        Expert report (with Darin N. Lee) and testimony regarding impact of pilot job
        actions. United States District Court, Northern District of Illinois, Eastern
        Division, September 2008.


   Innovative Solutions and Support, Inc. vs. J2, Joseph Caesar, James Zachary,
   Zachary Technologies, Inc and Kollsman, Inc.
        Expert report and testimony regarding damages arising from alleged
        misappropriation of intellectual property contained in aircraft components. United
        States District Court, Western District of Tennessee Western Division, Case No:
        05-2665-MIP. July 2007.


   Alaska Airlines, Inc., et al v. Los Angeles World Airports, et al
        Expert analysis of economic claims arising in a dispute over rates and charges
        imposed or airport tenants by Los Angeles World Airports. U.S. DOT, Docket-
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   Comments on Proposed Operating Limits at New York LaGuardia Airport
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   In Re Delta Air Lines, Inc. et al., Bankruptcy Litigation
       Expert analysis and trial testimony regarding airline industry economics, finance
       and competition. The United States Bankruptcy Court for the Southern District of
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   In Re Northwest Airlines, et al., Bankruptcy Litigation
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        New York, Chapter 11 Case No. 05-17930 (ALG), 2005-2006.



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   46. “Pinnacle Airlines Suspends Talks with Unions,” Flight Global, June 22, 2012.

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   76.   AMR Corporation, Form 10-K, year ending 2011.

   77.   AMR Eagle Holding Corporation, Form 10, August 11, 2011.

   78. Delta Air Lines, Form 10-K, year ending 2011.

   79.   JetBlue Airways Corporation, From 10-Q, first quarter 2012.

   80.   Pinnacle Airlines Corporation, Form 8-K, July 10, 2012.

   81.   Pinnacle Airlines Corporation, Form 8-K, August 17, 2012.

   82.   Pinnacle Airlines Corporation, Form 10-K, year ending 2003.

   83.   Pinnacle Airlines Corporation, Form 10-K, year ending 2004.

   84.   Pinnacle Airlines Corporation, Form 10-K, year ending 2005.

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   86.   Pinnacle Airlines Corporation, Form 10-K, year ending 2007.

   87.   Pinnacle Airlines Corporation, Form 10-K, year ending 2008.

   88.   Pinnacle Airlines Corporation, Form 10-K, year ending 2009.

   89.   Pinnacle Airlines Corporation, Form 10-K, year ending 2010.

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   90.   Pinnacle Airlines Corporation, Form 10-K, year ending 2011.

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   92. Pinnacle Airlines Corporation, Annual Report, year ending 2003.

   93.   Republic Airways Holding, Form 10-K, year ending 2009.

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   102. 5.8.2012 All Contracts LRO Delta PNCL &L_Dataroom.CONFIDENTIAL.xslx
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   103. 6.15 120523 Data and Assumptions for ALPA.Confidential.xlsx (Confidential).

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   109. 2.5 120518 - Pinnacle - Labor cost savings summary.pdf.

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      (2).pdf.

   DECLARATIONS

   111. Declaration of Jerrold Glass, September 13, 2012.

   112. Declaration of Virginia Hughes, September 13, 2012.

   113. Testimony of Sean Menke, May 16, 2012.

   114. Declaration of John Spanjers, April 1, 2012.

   115. Declaration of John Spanjers, September 13, 2012.




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         APPENDIX C: INCREASE IN CRJ-900 SENIORITY AND AVERAGE HOURLY
             PILOT WAGE AND WAGE-RELATED COSTS DUE TO REMOVAL OF 16
                                  CRJ-900 AIRCRAFT
   90.       As noted above, Pinnacle will cease to flying 16 CRJ-900 aircraft based in
             Atlanta during the first half of 2013.132 The removal of these aircraft will result
             in some junior CRJ-900 pilots moving down to CRJ-200 aircraft, thereby
             increasing the average seniority of remaining CRJ-900 pilots, resulting in higher
             wage and wage-related costs for its CRJ-900 operations.

   91.       To estimate the effect on seniority and average hourly pay, I estimated the
             number of pilots needed after the aircraft are removed.               The pilot list was
             adjusted for the removal of the 16 CRJ-900s by removing pilots from the bottom
             of the CRJ-900 seniority list. For example, column 3 of Exhibit 34 shows the
             seniority distribution for Mesaba/Pinnacle CRJ-900 captains in February 2012.
             It is estimated that of the           captains as of February 2012,               would be
             required after the 16 aircraft were removed and the subsequent seniority
             distribution is shown in column 4.133 The average seniority of a CRJ-900 captain
             increases from          years to         years as a result of the removal of 16 CRJ-
             900s. Using the proposed pay rates in the May 18th term sheet, the average
             hourly captains’ wage rate goes from               to         , an increase of




   132
         See Footnote 87 above.
   133
         See 6.44 120816 Buildup of PNCL cost disadvantage (for data room).xlsx
                                                       xvi
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         APPENDIX D: ESTIMATION OF PINNACLE FLIGHT ATTENDANT PAY GAP
                             VERSUS COMPASS AND GOJET



   94.         To estimate Pinnacle’s flight attendant cost gap versus Compass and GoJet, the
               current flight attendant distributions for Compass and GoJet were estimated
               based on the number of aircraft both carriers had in each year of their existence
               and assumptions on staffing ratios (i.e., the number of flight attendants needed
               per aircraft) and attrition (i.e., the number of flight attendants that leave each
               year).

   95.         Exhibit 34 shows the derivation of the estimated seniority and average pay rate
               for Compass. I assume that Compass requires 9.8 flight attendants per aircraft
               (i.e., approximately five crews of two flight attendants).136          Compass began in
               2007 with two aircraft, so their total number of flight attendants in 2007 is
               estimated to have been 20. In the second year, they flew (on average) 23.5
               aircraft, which would require 231 flight attendants. Assuming that each year
               20% of the flight attendants leave (distributed evenly across cohorts) there would
               be 16 flight attendants at year two remaining, and therefore, Compass would
               have had to hire 215 new flight attendants. Repeating the same calculation in
               each subsequent year leads to the 2012 estimated seniority distribution with an
               average seniority of 3.0 years. With their current pay rates, this implies an
               average hourly pay of            .




         136
               Source: 6.44 120816 Buildup of PNCL cost disadvantage (for data room).xlsx.

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               the costs are increased by the paid hour-to-block hour ratio, which I assume to be
               1.25).138 Column [G] summarizes the estimated annual flight attendant cost per
               aircraft based on these calculations.

                         EXHIBIT 37: FLIGHT ATTENDANT ANNUAL COST PER AIRCRAFT
                                                                                                                                  [G] = [C] x [D] x
                                          [A]               [B]        [C] = [A] x [B]       [D]            [E]         [F]
                                                                                                                                   [E] x [F] x 365

                                                                                                          Hours
                                                                         Weighted          Flight        Aircraft                  Annual Flight
                    Average        Weighted Average      Burdening      Average Pay      Attendants     Flown per   Paid to Block Attendant Flying Difference from
                    Seniority         Hourly Pay           Ratio        and Benefits     per Aircaft       Day          Ratio     Cost per Aircraft    Pinnacle

    Pinnacle                                                110%                              2             95          1 25

    Compass            2 96                                 110%                              2             95          1 25

    GoJet              2 66                                 110%                              2             95          1 25


     Source U S DOT Form 41; 6 44 120816 Buildup of PNCL cost disadvantage (for data room) xlsx; Pinnacle




   138
       Based on the average flight attendant being paid for approximately 75 hours, and, from Exhibit 28,
   flying approximately 60 block hours.
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